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                                                              UNITED STATES DISTRICT COURT
                                                            CENTRAL DISTRICT OF CALIFORNIA
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                             GALATEA JEWELRY                                 CASE NO.
                        14   CORPORATION,
                             a California corporation,                       COMPLAINT FOR DAMAGES AND
                        15                                                   INJUNCTIVE RELIEF FOR
                        16                                  Plaintiff,       FEDERAL COPYRIGHT
                                                                             INFRINGEMENT UNDER 17 U.S.C. §
                        17                                                   501
                                                      vs.
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                             SWAROVSKI NORTH
                        19   AMERICA LIMITED, a Rhode                        DEMAND FOR JURY TRIAL
                             Island corporation; SWAROVSKI
                        20
                             RETAIL VENTURES LTD., a
                        21   Rhode Island corporation;
                             SWAROVSKI DIGITAL
                        22   BUSINESS USA INC., a Rhode
                             Island corporation; and
                        23   SWAROVSKI CRYSTALLIZED
                        24   LLC, a Rhode Island limited
                             liability company,
                        25
                                                            Defendants.
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                         1               Plaintiff Galatea Jewelry Corporation (“Galatea”) alleges for its complaint
                         2   against Swarovski North America Limited, Swarovski Retail Ventures Ltd.,
                         3   Swarovski Digital Business USA Inc., Swarovski Crystallized LLC (collectively,
                         4   “Swarovski” or “Defendants”) and each of them as follows:
                         5                                                 Galatea’s Story
                         6               1.           This case arises out of Swarovski’s infringement of unique and original
                         7   copyrighted jewelry designs created by Galatea’s principal, Chi Huynh, who is a
                         8   life-long artist and a well-respected jewelry designer and inventor.
                         9               2.           Chi began learning the jewelry trade as a child by apprenticing for his
                        10   father, a well-respected jeweler in South Vietnam.
                        11               3.           When the Vietnam War ended in 1975, poverty and political chaos
                        12   ensued, and many South Vietnamese fled in search of a better life. In 1981, Chi, who
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                        13   was around 11 years old at the time, joined the flood of South Vietnamese refugees,
                        14   slipping away in the middle of the night on a boat to seek out an older brother who
                        15   had resettled in Rosemead, California. After weeks at sea, during which time the
                        16   boat Chi was on had its engine die, was robbed by pirates, and ran out of food and
                        17   water, a small fishing vessel rescued it by towing it to Thailand.
                        18               4.           Chi then stayed at a Thai refugee camp for six months before he was
                        19   reunited with his older brother in the United States. Unable to speak English at first,
                        20   Chi used his art to communicate with his peers.
                        21               5.           Chi’s deep passion for art, design, and innovation eventually led him to
                        22   art school, and from there to the jewelry industry, where he quickly made a name for
                        23   himself with his one-of-a-kind designs and processes, including for Galatea’s
                        24   Diamond in a Pearl™ line (hand-carved pearls), the Galatea Pearl® line (the world’s
                        25   first gemstone-enucleated pearls, created through a patented process), the DavinChi
                        26   Cut® line (gemstones cut and set using a patented process to give the visual illusion
                        27   of changing color depending on the viewing angle like a kaleidoscope), the patented
                        28   Momento Pearl® (the world’s first near-field communication (NFC) interactive
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                                                             COMPLAINT; DEMAND FOR JURY TRIAL
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                         1   jewelry line, where gems are embedded with chips that a gift giver can load with
                         2   digital memories, such as photos or voice recordings, which the recipient accesses
                         3   by tapping the jewelry to an NFC-enabled smartphone), the Shape Memory
                         4   Jewelry™ line (jewelry that changes shape when warmed) – and, as is especially
                         5   pertinent here, for Galatea’s Two of One Heart™ line, which is discussed in greater
                         6   detail below.
                         7               6.           Chi’s cutting-edge designs for Galatea are sold through over 1,000
                         8   retail        jewelers        throughout   the   United   States,   and   Galatea’s   website,
                         9   www.galateausa.com.
                        10               7.           Chi’s designs have also been exhibited at major trade shows, such as
                        11   JCK, IJO (Independent Jewelers Organization), AGTA (American Gem Trade
                        12   Association), and featured in and on mainstream and industry publications and
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                        13   websites, including, but not limited to, TechCrunch, JCK, National Jeweler, and
                        14   Watch & Jewelry Review. They have also won many accolades and awards,
                        15   including from JCK (2012 Jewelers’ Choice Awards, 2013 Finalist for Jewelers’
                        16   Choice Awards, 2016 Think Tank Finalist), IJO’s VIP Vendor award for 2015-2016,
                        17   the Cultured Pearl Association of America (2012 Designer’s Award, 2013 Visionary
                        18   Award), the Platinum Guild International Design Competition, and the Tahitian
                        19   Pearl Trophy Competition.
                        20                     Chi Creates Designs for Galatea’s Two of One Heart™ Line
                        21               8.           In 2009, Chi developed a unique and original abstract jewelry design
                        22   that he named “Two in One Heart” to capture his vision of love as a union of two
                        23   individuals, at once both separate and together, with an optical illusion of a single
                        24   heart comprised of two overlapping hearts formed from the same contiguous loop of
                        25   metal (“TWO IN ONE HEART Design”). A true and correct copy of the copyright
                        26   registration for the TWO IN ONE HEART Design, United States Copyright
                        27   Registration No. VAu 1-002-027, which issued on October 2, 2009, is attached as
                        28   Exhibit A, along with a true and correct copy of the TWO IN ONE HEART Design.
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                         1               9.           A short time later, Chi created a catalog for Galatea’s Two of One
                         2   Heart™ line, featuring pendants, earrings, and rings in the TWO IN ONE HEART
                         3   Design and other jewelry designs derived therefrom (“TWO OF ONE HEART
                         4   Catalog”). A true and correct copy of the copyright registration for the TWO OF
                         5   ONE HEART Catalog, United States Copyright Registration No. VAu 1-010-959,
                         6   which issued on January 8, 2010, is attached as Exhibit B, along with a true and
                         7   correct copy of the TWO OF ONE HEART Catalog.
                         8               10.          Galatea is now the owner by assignment from Chi of all right, title, and
                         9   interest in and to the copyrights in the TWO IN ONE HEART Design and TWO OF
                        10   ONE HEART Catalog (collectively, the “TWO OF ONE HEART Designs”), and
                        11   their corresponding registration certificates, including all right, title, and interest in
                        12   and to all past, present, and future causes of action for infringement thereof.
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                        13               11.          In 2010, several years before the infringement complained of herein
                        14   commenced, Galatea offered for sale and sold its Two of One Heart™ line featuring
                        15   the TWO OF ONE HEART Designs through, inter alia, the TWO OF ONE HEART
                        16   Catalog, Galatea’s retail jeweler network, Galatea’s website, and various trade
                        17   shows, including the JCK trade show, which, on information and belief, Swarovski
                        18   also routinely participates in.
                        19               12.          The Two of One Heart™ line was also featured in a full-page spread in
                        20   the February 2010 edition of Watch & Jewelry Review, complete with a color
                        21   photograph of a pendant, earrings, and a ring in the TWO OF ONE HEART Designs.
                        22                                       Swarovski’s Infringing Conduct
                        23               13.          On information and belief, in around January 2016, years after Chi’s
                        24   creation and Galatea’s publication of the TWO OF ONE HEART Designs,
                        25   Swarovski began manufacturing, distributing, advertising, promoting, selling and/or
                        26   offering for sale, and/or causing to be manufactured, distributed, advertised,
                        27   promoted, sold and/or offered for sale, without authorization or license from Chi or
                        28   Galatea, jewelry featuring a design that is a copy of, and/or is substantially similar
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                         1   to, the TWO OF ONE HEART Designs (the “Infringing Design”).
                         2               14.          More specifically, in around January 2016, Swarovski began
                         3   advertising, promoting, selling and/or offering for sale, pendants and bangles in the
                         4   Infringing Design (the “Infringing Products”) as part of its “new Valentine’s Day
                         5   collection,” including via promotional videos starring supermodel Miranda Kerr.
                         6               15.          The following is a side-by-side comparison of one of Galatea’s
                         7   federally registered TWO OF ONE HEART Designs and one of Swarovski’s
                         8   Infringing Products:
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                                                         Galatea                              Swarovski
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                        16               16.          The steps taken by Swarovski to copy Galatea’s TWO OF ONE
                        17   HEART Designs are readily apparent. To arrive at the Infringing Product shown
                        18   above right, Swarovski merely (1) horizontally flipped the Galatea design shown
                        19   above left; (2) removed the existing diamonds; (3) covered a larger portion of the
                        20   design with crystals; and (4) tapered the points and rounded the edges as follows:
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                                         17.          Prior to and simultaneous with releasing its Infringing Products,
                        26
                             Swarovski offered jewelry featuring heart designs, but none of its other heart designs
                        27
                             were selected, coordinated, and arranged in the unique and original manner of the
                        28
                             TWO OF ONE HEART Designs, which involve an optical illusion of a single heart
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                         1   comprised of two overlapping hearts formed from the same contiguous loop of
                         2   metal.
                         3               18.          Examples of Swarovski’s extensive efforts to market the Infringing
                         4   Products in conjunction with Valentine’s Day 2016 are shown below:
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                         1               19.          On information and belief, since debuting the Infringing Products for
                         2   Valentine’s Day 2016, Swarovski has continually been manufacturing, distributing,
                         3   advertising, promoting, selling and/or offering for sale, and/or causing to be
                         4   manufactured, distributed, advertised, promoted, sold and/or offered for sale,
                         5   without authorization or license from Chi or Galatea, such products nationwide and
                         6   in this judicial district through its brick-and-mortar stores, its website,
                         7   www.swarovski.com, and third-party distributors such as Amazon.com and Macy’s.
                         8   Among other things, Swarovski has repeatedly highlighted the Infringing Products
                         9   in its marketing and sales efforts for major shopping holidays, including Mother’s
                        10   Day 2016, Valentine’s Day 2017 and, most recently, Cyber Monday 2017, as shown
                        11   below:
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                                          20.          On information and belief, Swarovski’s choice of a design that is a copy
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                              of, and/or is substantially similar to, the TWO OF ONE HEART Designs, which had
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                              long been promoted and made available in the marketplace by Chi, Galatea, and
                         24
                              third-party retailers and media outlets, was intentional. At the very least,
                         25
                              Swarovski’s choice was made with reckless disregard for Chi and Galatea’s rights
                         26
                              in the TWO OF ONE HEART Designs.
                         27
                                          21.          On information and belief, Swarovski will continue to manufacture,
                         28
                              distribute, advertise, promote, sell and/or offer for sale, and/or cause to be
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                          1   manufactured, distributed, advertised, promoted, sold and/or offered for sale,
                          2   without authorization or license from Galatea, the Infringing Products unless
                          3   restrained by this Court.
                          4                                                      Parties
                          5               22.          Galatea is a California corporation with a principal place of business at
                          6   247 West Bonita Ave, San Dimas, California 91773.
                          7               23.          On information and belief, Swarovski North America Limited is a
                          8   Rhode Island corporation with a principal place of business at One Kenney Drive,
                          9   Cranston, Rhode Island 02920.
                         10               24.          On information and belief, Swarovski Retail Ventures Ltd. is a Rhode
                         11   Island corporation with a principal place of business at One Kenney Drive, Cranston,
                         12   Rhode Island 02920.
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                         13               25.          On information and belief, Swarovski Digital Business USA Inc. is a
                         14   Rhode Island corporation with a principal place of business at One Kenney Drive,
                         15   Cranston, Rhode Island 02920.
                         16               26.          On information and belief, Swarovski Crystallized LLC is a Rhode
                         17   Island limited liability company with a principal place of business at One Kenney
                         18   Drive, Cranston, Rhode Island 02920.
                         19                                             Jurisdiction and Venue
                         20               27.          This action is for infringement of a federally registered copyright under
                         21   17 U.S.C. § 501(a) based on Swarovski’s marketing and sale of its Infringing
                         22   Products nationwide, including specifically to and from within California and this
                         23   judicial district, and the tortious injury suffered by Galatea in this judicial district as
                         24   a result thereof.
                         25               28.          The Court has subject matter jurisdiction over Galatea’s federal
                         26   copyright infringement claim pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).
                         27               29.          Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)
                         28   and 28 U.S.C. § 1400(a) because Swarovski is subject to personal jurisdiction and
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                          1   has agent’s resident herein, and the claim against Swarovski arises out of its
                          2   marketing and sales efforts aimed at, and conducted within, this judicial district.
                          3                                            First Cause of Action:
                          4                              Federal Copyright Infringement (17 U.S.C. § 501)
                          5               30.          Galatea repeats the allegations of paragraphs 1-29, supra, and
                          6   incorporates them by reference as if herein set forth in their entirety.
                          7               31.          Galatea is the owner by assignment of United States Copyright
                          8   Registration Nos. VAu 1-002-027 and VAu 1-010-959 for the TWO OF ONE
                          9   HEART Designs, and all the exclusive rights afforded by 17 U.S.C. § 106 as to each
                         10   such design, including the rights to reproduce, prepare derivative works of, and/or
                         11   distribute the design.
                         12               32.          Swarovski had access to the TWO OF ONE HEART Designs,
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                         13   including, without limitation, through Galatea’s retail jeweler network, Galatea’s
                         14   website, industry publications, and trade shows.
                         15               33.          The actions of Swarovski described above, and specifically, its
                         16   unauthorized manufacturing, distributing, advertising, promoting, selling and/or
                         17   offering for sale in commerce, and/or causing to be manufactured, distributed,
                         18   advertised, promoted, sold and/or offered for sale in commerce the Infringing
                         19   Products bearing a design that was, on information and belief, intentionally or
                         20   recklessly copied from, and/or is substantially similar to, the TWO OF ONE HEART
                         21   Designs, constitute willful copyright infringement under 17 U.S.C. § 501.
                         22               34.          As a direct and proximate result of Swarovski’s past and continuing
                         23   infringement, Galatea has suffered, and will, unless Swarovski is restrained,
                         24   continue to suffer damages, as well as irreparable harm and injury for which it has
                         25   no adequate remedy at law. Galatea is therefore entitled to injunctive relief pursuant
                         26   to 17 U.S.C. § 502.
                         27               35.          Pursuant to 17 U.S.C. § 504, Galatea is entitled to recover either its
                         28   damages and Swarovski’s profits directly and indirectly attributable to its
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                          1   infringement of the TWO OF ONE HEART Designs in amounts to be determined at
                          2   trial or, if Galatea so elects, statutory damages that should be enhanced given the
                          3   willful and/or reckless nature of Swarovski’s infringement. Galatea is also entitled
                          4   under 17 U.S.C. § 505 to recover the full costs of this action, including reasonable
                          5   attorneys’ fees.
                          6                                                Prayer for Relief
                          7               WHEREFORE, Galatea requests that judgment be entered in favor of Galatea
                          8   and against Swarovski, as follows:
                          9               1.           Finding that Swarovski willfully and/or recklessly infringed on
                         10   Galatea’s copyrights in violation of 17 U.S.C. § 501;
                         11               2.           For an order (a) enjoining Swarovski, and all of those acting in concert
                         12   with it, including its agents and servants, and all those on notice of this suit, from
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                         13   copying or otherwise infringing the TWO OF ONE HEART Designs, including
                         14   without limitation by manufacturing, distributing, advertising, promoting, selling
                         15   and/or offering for sale in commerce, and/or causing to be manufactured, distributed,
                         16   advertised, promoted, sold and/or offered for sale in commerce any products bearing
                         17   the Infringing Design or any other design that is the same as, substantially similar
                         18   to, or a derivative of the TWO OF ONE HEART Designs, including but not limited
                         19   to the Infringing Products; (b) requiring Swarovski to effectuate the recall, removal,
                         20   and return from commercial distribution and/or public display any products bearing
                         21   the Infringing Design or any other design that is the same as, substantially similar
                         22   to, or a derivative of the TWO OF ONE HEART Designs, including but not limited
                         23   to the Infringing Products, and promotional materials featuring any such products or
                         24   the Infringing Design; (c) requiring Swarovski to deliver up for impoundment and
                         25   destruction all products bearing the Infringing Design or any other design that is the
                         26   same as, substantially similar to, or a derivative of the TWO OF ONE HEART
                         27   Designs, including but not limited to the Infringing Products, and promotional
                         28   materials featuring any such products or the Infringing Design in Swarovski’s
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                          1   possession, custody, or control and/or that are recalled by or returned to Swarovski;
                          2   and (d) requiring Swarovski to file with the Court, and serve upon Galatea, within
                          3   thirty (30) days of service of the judgment upon them, a written report setting forth
                          4   in detail and under oath the steps taken by Swarovski to comply with the
                          5   requirements set forth in sub-sections (a)-(c) of this Paragraph;
                          6               3.           For an award of damages to compensate Galatea for the injuries caused
                          7   by Swarovski’s copyright infringement, and an order requiring Swarovski to account
                          8   for and disgorge to Galatea all gains, profits, and advantages directly and indirectly
                          9   attributable to such infringement, such amounts to be determined at trial or, if
                         10   Galatea so elects, statutory damages that are enhanced given the willful and/or
                         11   reckless nature of the acts alleged;
                         12               4.           For attorneys’ fees and costs of suit;
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                         13               5.           For prejudgment and post-judgment interest; and
                         14               6.           For such other and further relief to which Galatea may be entitled as a
                         15   matter of law or equity or which the Court determines to be just and proper.
                         16

                         17   Dated: December 4, 2017                            Respectfully submitted,
                         18
                                                                                 RUSS, AUGUST & KABAT
                         19                                                      Irene Y. Lee
                                                                                 Jean Y. Rhee
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                         21                                                      By:
                         22                                                        Irene Y. Lee
                                                                                   Attorneys for Plaintiff
                         23                                                        Galatea Jewelry Corporation
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                          1                                DEMAND FOR JURY TRIAL
                          2               Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, plaintiff
                          3   Galatea Jewelry Corporation demands trial by jury on all issues.
                          4

                          5   Dated: December 4, 2017                   Respectfully submitted,
                          6                                             RUSS, AUGUST & KABAT
                          7                                             Irene Y. Lee
                                                                        Jean Y. Rhee
                          8

                          9                                             By:
                         10                                               Irene Y. Lee
                                                                          Attorneys for Plaintiff
                         11                                               Galatea Jewelry Corporation
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